          Case 3:13-cv-01565-SI   Document 27   Filed 04/25/14    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON



JANET M. BENNETT, PH.D.,                    Case No. 3:13-cv-01565-SI

              Plaintiff,                    JUDGMENT

     v.

UNITED STATES LIABILITY
INSURANCE GROUP,

              Defendant.


     Based on the Court’s OPINION AND ORDER,

     IT IS ADJUDGED that this case is DISMISSED with prejudice.

     DATED this 25th day of April 2014.

                                            /s/ Michael H. Simon
                                            Michael H. Simon
                                            United States District Judge




PAGE 1 – JUDGMENT
